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       UNITED STATE DISTRICT COURTFOR THE DISTRICT OF COLUMBIA

UNITED STATE OF AMERICA                       )
                                              )
                                              )
vs.                                           )       CASE NO.: 13-cr-00031-ESH
                                              )
                                              )
BENJAMIN GREY                                 )
     Defendant                                )

                          MOTION TO WITHDRAW AS COUNSEL

       David Benowitz, counsel for defendant Benjamin Grey, moves to withdraw as counsel

because of an unwaivable conflict. In support of this motion, counsel states the following:

       1)       Mr. Grey is charged in a twenty-three (23) count indictment alleging bank fraud,

wire fraud, and related offenses.

       2)       Counsel entered his appearance on April 13, 2013. During a status hearing on

April 16, 2013, this matter, which had been scheduled for trial on May 23, 2013, was continued

to October 16, 2013.

       3)       Counsel recently discovered that he has an unwaivable conflict that requires him

to withdraw from this matter.

       4)       Since trial in this matter is now scheduled for October 16, 2013, and given the

extensive preparation completed by prior counsel Edward Sussman, counsel anticipates that the

October trial date can be maintained by new counsel.




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                              CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that on this 9th day of May, 2013, I caused a true and correct copy
of the foregoing Motion to Dismiss Indictment via CM/ECF to AUSAs Christopher Cavanaugh
and Jonathan Hooks, United States Attorney’s Office, 555 Fourth Street, NW, Washington, DC
20530.



                                                 ___________/s/______________
                                                 David Benowitz




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